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10                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION

12

13    UNITED STATES OF AMERICA,              )
                                             )              COMPLAINT TO REDUCE CIVIL
14             Plaintiff,                    )              PENALTY ASSESSMENTS TO
                                             )              JUDGMENT
15             v.                            )
                                             )
16    TUNCAY SAYDAM,                         )
                                             )
17             Defendant.                    )
      _______________________________________)
18

19          Plaintiff, the United States of America, brings this action to collect unpaid federal civil

20   penalty assessments and interest as provided by law and to reduce those assessments to

21   judgment. Additionally, the United States intends to use all appropriate pre-judgment remedies,

22   post-judgment remedies, and additional surcharges as authorized by the Federal Debt Collection

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 1   Practices Act (28 U.S.C. § 3001 et seq.) to collect any judgment it obtains in this case. In support

 2   of this action, the United States alleges as follows:

 3                                              INTRODUCTION

 4             1.       This is a timely civil action to collect outstanding unpaid civil penalty

 5   assessments, made pursuant to 31 U.S.C. § 5321(a)(5), against Tuncay N. Saydam. These

 6   penalties, commonly known as “FBAR penalties,” arise from Saydam’s failure to report his

 7   financial interest in, or signatory or other authority over, several foreign financial accounts for

 8   the 2013, 2014, 2015, 2016, and 2017 calendar years, as required under 31 U.S.C. § 5314 and the

 9   implementing regulations thereunder.

10             2.       The United States brings this action with the authorization of the Secretary of the

11   Treasury (see 31 U.S.C. § 3711(g)(4)(C)) and at the direction of the Attorney General of the

12   United States.

13                                                 DEFENDANT

14             3.       Defendant Tuncay Saydam was born in Turkey in 1938. He graduated from

15   Istanbul Technical University and then taught at various universities in Turkey for twenty years.

16             4.       In 1980, Saydam immigrated to the United States to take a teaching position in

17   computer science at the University of Delaware. In 1988, Saydam became a citizen of the United

18   States.

19             5.       Saydam taught at the University of Delaware for 25 years until he retired in 2005.

20             6.       Saydam remains a citizen of both the United States and Turkey. He and his wife

21   own a residence in Turkey, which they visit regularly.

22             7.       Saydam currently resides in San Francisco, California.

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 1                                     JURISDICTION AND VENUE

 2           8.       This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345, and

 3   1355.

 4           9.       Venue properly lies in the Northern District of California under 28 U.S.C.

 5   §§ 1391(b)(1) and 1395(a) because Saydam resides and is found within this judicial district.

 6                                      DIVISIONAL ASSIGNMENT

 7           10.      Because Defendant Tuncay Saydam currently resides in San Francisco,

 8   California, assignment to the San Francisco Division is appropriate.

 9                                FBAR REPORTING REQUIREMENTS

10           11.      Federal law requires every resident or citizen of the United States who has a

11   financial interest in, or signatory or other authority over, a bank, securities, or other financial

12   account in a foreign country to report that relationship to the Internal Revenue Service (“IRS”)

13   for each year the relationship exists. See 31 U.S.C. § 5314(a); 31 C.F.R. § 1010.350(a).

14           12.      To fulfill this requirement, each such United States resident or citizen must file

15   with the IRS a “Report of Foreign Bank and Financial Accounts,” commonly known as an

16   “FBAR.” The proper form to report FBAR information for the 2013, 2014, 2015, 2016, and 2017

17   calendar years was FinCEN Form 114.

18           13.      For the 2013, 2014, and 2015 calendar years, accountholders with an aggregate

19   balance exceeding $10,000 in foreign financial accounts were required to file an FBAR no later

20   than June 30 of the following calendar year. See 31 C.F.R. § 1010.306(c). For the 2016 and 2017

21   calendar years, accountholders with an aggregate balance exceeding $10,000 in financial

22   accounts were required to file an FBAR by April 15 of the following calendar year, with an

23   automatic extension to October 15. See Pub. L. No. 114-41, Title II, § 2006(b)(11).

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 1          14.     Any United States resident or citizen who is required to comply with the FBAR

 2   reporting requirements, but fails to do so, may be subject to a civil penalty. For violations

 3   involving the willful failure to report an interest in a foreign account, the maximum civil penalty

 4   for each violation is the greater of $100,000 (adjusted for inflation) or 50% of the balance in the

 5   account at the time of the violation. See 31 U.S.C. § 5321(a)(5)(C).

 6          15.     The FBAR penalty is subject to interest, additional penalties, and other additions

 7   under 31 U.S.C. § 3717.

 8                                SAYDAM’S FOREIGN ACCOUNTS

 9          16.     In 2009, Tuncay Saydam opened three bank accounts with Zürcher Kantonalbank

10   (“ZKB”), a bank in Switzerland.

11          17.     By 2011, Saydam had over $400,000 deposited in his ZKB accounts.

12          18.     However, Saydam did not file timely FBARs or otherwise report his interest in

13   the ZKB accounts to the IRS.

14          19.     In 2012, ZKB chose to stop providing banking services to United States citizens

15   due to tightening United States regulations.

16          20.     In March 2012, ZKB sent a letter to Saydam notifying him of this new policy and

17   informing him that his ZKB accounts would be closed.

18          21.     In response, Saydam requested that ZKB transfer the balance of his accounts to

19   DenizBank A.Ş., a private bank in Turkey.

20          22.     On April 9, 2012, ZKB transferred $525,033.90 to Saydam’s account with

21   DenizBank.

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 1          23.      At various times from 2013 to 2017, Saydam had bank accounts at the following

 2   Turkish banks: DenizBank, AkBank T.A.Ş., Turkiye İş Bankası A.Ş., and İş Yatırım Menkul

 3   Değerler A.Ş.

 4          24.      For each of the years 2013 through 2017, the aggregate amount in these Turkish

 5   bank accounts, individually and/or collectively, had a balance that exceeded $10,000 at any time

 6   during the calendar year.

 7          25.      Specifically, the maximum account balances for Saydam’s Turkish bank accounts

 8   for the years 2013 through 2017 are as follows:

 9           Bank Name and          2013           2014           2015        2016          2017
             Account Number
10           DenizBank 1441         $810,276       $842,304       $671,570    -             -
             AkBank 2342            $27,019        $27,142        -           -             -
11
             AkBank 6391            $10,530        $5,680         -           -             -
12           AkBank 6651            -              -              $7,900      -             -
             AkBank 7993            -              -              -           $7,381        -
13           AkBank 6653            -              -              -           -             $3,584
             Turkiye Bankası        -              -              $40,000     -             -
14
             4236
15           İş Yatırım             -              -              -           $206,075      $208,644
             TOTAL                  $847,826       $875,127       $719,472    $213,456      $212,229
16

17          26.      Saydam was required by law to timely file FBARs reporting his financial interest

18   in these foreign accounts for the years 2013 through 2017.

19          27.      Saydam did not timely file FBARs that disclosed these foreign accounts for the

20   years 2013 through 2017.

21   //

22   //

23   //

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 1                               WILLFUL FAILURE TO FILE FBARs

 2                                A. Saydam’s Efforts to Conceal Assets

 3          28.     In 2012, Saydam received two letters from ZKB, one in March and a second in

 4   September, informing him that it would be closing his bank account, as well as those of all other

 5   United States citizens, “in view of the expected tightening of the U.S. regulations.”

 6          29.     ZKB’s letters also recommended that Saydam “consult with a qualified tax

 7   advisor to determine if there exist any U.S. tax consequences in connection with the closure of

 8   the bank relationship, such as additional U.S. tax return filing or disclosure obligations.”

 9          30.     Saydam did not consult with a qualified tax advisor.

10          31.     Instead, Saydam went to Istanbul, Turkey, to find another bank outside of the

11   United States to deposit his assets.

12          32.     Once he established an account with DenizBank, he requested that ZKB transfer

13   the balance of his ZKB bank accounts to his DenizBank account in Turkey.

14          33.     For tax years 2013 through 2017, Saydam used H&R Block to prepare his tax

15   returns. Three different H&R tax preparers assisted Saydam with his tax returns for the years

16   2013 through 2017.

17          34.     For each of the relevant tax years, Saydam met with an H&R tax preparer to

18   prepare his return. The tax preparer would ask Saydam questions prompted by H&R’s

19   proprietary software.

20          35.     One of these questions was: “Do you have signatory authority over foreign

21   accounts?”

22          36.     Every time Saydam was asked by an H&R tax preparer whether he had signatory

23   authority over a foreign account, Saydam answered in the negative.

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 1          37.     Schedule B, Part III, line 7a of the Form 1040s Saydam filed for tax years 2014

 2   through 2017, asked whether Saydam had had “a financial interest in or signatory authority over

 3   a financial account located in a foreign country” at any time during the tax year.

 4          38.     Saydam denied any such interest on his Schedule Bs for each of those years.

 5          39.     The Form 1040 Saydam filed for tax year 2013 did not include a Schedule B

 6   because Saydam’s false answers to the H&R tax preparer’s questions made the tax preparer

 7   believe that a Schedule B was unnecessary.

 8                                   B. Saydam’s Lies to IRS Agents

 9          40.     In 2018, the IRS began an examination of Saydam’s tax returns for tax years 2013

10   through 2017. The IRS conducted an FBAR examination for tax years 2013 through 2017 in

11   conjunction with the income tax examination.

12          41.     On November 1, 2018, an IRS revenue agent interviewed Saydam as part of the

13   examination.

14          42.     At this interview, Saydam said that he had a bank account with AkBank in

15   Istanbul, Turkey that he used for his expenses when he traveled to Turkey and for expenses

16   associated with his residence in Turkey.

17          43.     Saydam told the revenue agent that this bank account was funded by gold coins he

18   received as an inheritance when his mother died and by wages for contract jobs he had

19   completed.

20          44.     Saydam stated that he had not filed FBARs with his tax returns disclosing this

21   account because he had never been asked about foreign accounts by the H&R tax preparers he

22   used to complete his tax returns.

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 1          45.      Saydam did not disclose any other foreign bank account besides the AkBank

 2   account to the IRS agent during this first interview.

 3          46.      On December 7, 2018, the revenue agent interviewed Saydam again. This time

 4   Saydam admitted to having had other bank accounts in Turkey, as well as bank accounts in

 5   Switzerland.

 6          47.      However, Saydam stated that he had opened Swiss bank accounts only when he

 7   was working in Switzerland as a professor in the 1980s and 1990s. He insisted that all his Swiss

 8   bank accounts were closed prior to 2012.

 9          48.      Saydam once again maintained that his Turkish bank accounts were funded by

10   gold coins he had inherited from his mother and mother-in-law in the late 1990s, as well as

11   money he had earned teaching and through special projects in Turkey.

12          49.      It was not until the revenue agent’s third interview with Saydam—when Saydam

13   was confronted with bank statements from ZKB—that Saydam admitted that the money in his

14   Turkish bank accounts came from funds he had initially deposited in a Swiss bank account.

15          50.      Saydam told the revenue agent that he had transferred funds from his Swiss bank

16   account with ZKB to DenizBank in Turkey on advice from a friend’s son, who worked as an

17   investment advisor in Turkey.

18          51.      Saydam said that this investment advisor told him to close the ZKB account and

19   transfer his money to Turkey but that Saydam did not remember why the investment advisor told

20   him to do so.

21          52.      The stories Saydam told the IRS agent over these three interviews are directly

22   contradicted by ZKB bank records, which show that Saydam transferred the balance of his ZKB

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 1   account to DenizBank in Turkey in response to letters from ZKB stating that it was closing

 2   accounts held by American citizens in response to tightening United States regulations.

 3          53.     Indeed, Saydam demanded that ZKB pay him 2,000 Swiss francs to compensate

 4   him for the expenses he incurred in moving his funds from Switzerland to Turkey due to ZKB’s

 5   change in policy.

 6           COUNT ONE: REDUCE WILLFUL FBAR PENALTIES TO JUDGMENT

 7                                  A. Liability for the Civil Penalty

 8          54.     The United States incorporates by reference the allegations in Paragraphs 1

 9   through 53.

10          55.     During the 2013, 2014, 2015, 2016, and 2017 calendar years, Saydam was a

11   United States person within the meaning of 31 C.F.R. § 1010.350(b) because he was a United

12   States citizen and resident.

13          56.     At various points during the calendar years 2013 through 2017, Saydam had a

14   financial interest, within the meaning of 31 C.F.R. § 1010.350(e), in five AkBank accounts, one

15   Turkiye Bankası account, and one İş Yatırım account (“the Accounts”).

16          57.     The Accounts were bank accounts in a foreign country.

17          58.     During the calendar years 2013 through 2017, the aggregate balance in the

18   Accounts exceeded $10,000.

19          59.     Saydam did not file FBARs for the 2013, 2014, 2015, 2016, or 2017 calendar

20   years to report his financial interest in the Accounts in violation of 31 U.S.C. § 5314 and 31

21   C.F.R. § 1010.306(c).

22          60.     Saydam’s failure to file FBARs for 2013, 2014, 2015, 2016, and 2017 calendar

23   years was willful within the meaning of 31 U.S.C. § 5321(a)(5).

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 1                          B. Assessment and Collection of the Civil Penalty

 2           61.     On March 1, 2021, a delegate of the Secretary of the Treasury timely assessed

 3   FBAR penalties against Saydam in the total amount of $437,564.00, due to Saydam’s willful

 4   failure to file FBARs disclosing his interest in the Accounts to the IRS for calendar years 2013,

 5   2014, 2015, 2016, and 2017. The FBAR penalties were broken down by year as follows:

 6                                      Year            FBAR Penalty
                                 2013                 $129,346
 7                               2014                 $133,511
                                 2015                 $109,764
 8                               2016                 $32,565
                                 2017                 $32,378
 9

10           62.     On March 4, 2021, a delegate of the Secretary of Treasury sent a notice of the

11   assessments and demand for payment for Saydam for the FBAR Penalties at his last known

12   address.

13           63.     As of November 9, 2022, the unpaid balance owed to the United States by

14   Saydam for the FBAR penalties, penalties for late payment under 31 U.S.C. § 3717(e)(2),

15   applicable fees and interest, less any payments, was $486,695.16.

16           64.     The United States is entitled to a judgment against Saydam in the amount of

17   $486,695.16 as of November 9, 2022, plus statutory accruals as provided by law from that date

18   until fully paid.

19   WHEREFORE, the United States requests that the Court:

20           A.      Enter judgment in favor of the United States and against Saydam in the amount of

21   $486,695.16 as of November 9, 2022, plus statutory accruals from that date until fully paid; and

22           B.      Award the United States, its costs, and such other further relief as the Court

23   deems just and proper.

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 1         Dated: November 22, 2022        Respectfully submitted,

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